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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF FLORIDA
                                       PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                          Case # 3:09cr38-001LAC

ABRAHAM ALVAREZ a/k/a "CHUCKIE",
a/k/a "ANTONIO ESQUIVEL"
                                                              USM # 07201-017

                                                              Defendant's Attorney:
                                                              Albert F. Oram, Jr. (Appointed)
                                                              314 South Baylen Street, Suite 116
                                                              Pensacola, Florida 32502
___________________________________
                              JUDGMENT IN A CRIMINAL CASE
The defendant pled guilty to Counts One and Two of the Indictment on May 27, 2009. Accordingly,
IT IS ORDERED that the defendant is adjudged guilty of such counts which involve the following
offenses:
       TITLE/SECTION                     NATURE OF                      DATE OFFENSE
          NUM BER                         OFFENSE                        CONCLUDED              COUNT

 21 U.S.C. §§ 841(a)(1),      Conspiracy to Distribute and               March 18, 2009          One
 (b)(1)(A)(ii) and 846        Possess with Intent to Distribute
                              Five Kilogram s or More of a
                              Mixture and Substance
                              Containing a Detectable Am ount
                              of Cocaine

 21 U.S.C. § 841(a)(1)        Possession with Intent to                  March 18, 2009          Two
 and (b)(1)(B)(ii)            Distribute 500 Gram s or More of
                              a Mixture and Substance
                              Containing a Detectable Am ount
                              of Cocaine
The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                              Date of Imposition of Sentence:
                                                              August 11, 2009
                                                              s /L.A. Collier
                                                              LACEY A. COLLIER
                                                              SENIOR UNITED STATES DISTRICT JUDGE

                                                              August 13, 2009
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                                              IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 151 months as to Counts One and Two, with counts to run
concurrently one with the other.

        The defendant is remanded to the custody of the United States Marshal.




                                                  RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                __________________________________
                                                                       UNITED STATES MARSHAL


                                                            By:__________________________________
                                                                        Deputy U.S. Marshal
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                                        SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of Five Years as to Count One and Four Years as to Count Two, with counts to run
concurrently one with the other.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                          STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.      the defendant shall not leave the judicial district without the perm ission of the court or probation
        officer;

2.      the defendant shall report to the probation officer and shall subm it a truthful and com plete written
        report within the first five days of each m onth;

3.      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
        of the probation officer;

4.      the defendant shall support his or her dependents and m eet other fam ily responsibilities;

5.      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
        schooling, training, or other acceptable reasons;

6.      the defendant shall notify the probation officer at least 10 days prior to any change in residence or
        em ploym ent;

7.      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
        distribute, or adm inister any controlled substance or any paraphernalia related to any controlled
        substances, except as prescribed by a physician;

8.      the defendant shall not frequent places where controlled substances are            illegally sold, used,
        distributed, or adm inistered;

9.      the defendant shall not associate with any persons engaged in crim inal activity and shall not associate
        with any person convicted of a felony unless granted perm ission to do so by the probation officer;
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10.     the defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and
        shall perm it confiscation of any contraband observed in plain view of the probation officer;

11.     the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
        law enforcem ent officer;

12.     the defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law
        enforcem ent agency without the perm ission of the court; and

13.     as directed by the probation officer, the defendant shall notify third parties of risks that m ay be
        occasioned by the defendant's crim inal record or personal history or characteristics and shall perm it
        the probation officer to m ake such notifications and to confirm the defendant's com pliance with such
        notification requirem ent.

14.     if this judgm ent im poses a fine or a restitution obligation, it shall be a condition of supervision that
        the defendant pay any such fine or restitution in accordance with the Schedule of Paym ents set forth
        in the Crim inal Monetary Penalties sheet of this judgm ent.

                   ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

        The defendant shall also comply with the following additional conditions of supervised
        release:

        The defendant shall cooperate with the probation officer and Immigration and Customs
        Enforcement regarding immigration status and abide by all orders or instructions of the
        Immigration and Customs Enforcement agency. If deported, the defendant shall not
        reenter the United States without permission of the Attorney General or Secretary of the
        Department of Homeland Security.
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       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




        Defendant                                                             Date




        U.S. Probation Officer/Designated Witness                             Date
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                                 CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons' Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                  SUMMARY
          Special
    Monetary Assessment                               Fine                          Restitution

              $200.00                                  $0                              $0




                               SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 ($100.00 each count) is imposed and is to be
paid immediately.

No fine imposed.
No restitution imposed.
